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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 SECURITIES AND EXCHANGE                                §
 COMMISSION,                                            §
                                                        §
          Plaintiff,                                    §
                                                        §
 v.                                                     §
                                                        §
 BRIAN A. BJORK, ESTATE OF JOEL DAVID                   §      CIVIL ACTION NO. 4:11-cv-2830
 SALINAS, J. DAVID GROUP OF                             §
 COMPANIES, INC., J. DAVID FINANCIAL                    §
 GROUP, L.P., SELECT ASSET                              §
 MANAGEMENT, LLC, SELECT CAPITAL                        §
 MANAGEMENT, LLC, SELECT ASSET                          §
 FUND I, LLC, AND SELECT ASSET PRIME                    §
 INDEX FUND, LLC ,                                      §
                                                        §
          Defendants.                                   §
                                                        §

 RECEIVER’S UNOPPOSED ELEVENTH INTERIM APPLICATION TO ALLOW AND PAY (1)
  RECEIVER'S FEES AND EXPENSES, (2) ATTORNEY'S FEES AND EXPENSES, AND (3)
      OTHER PROFESSIONAL FEES AND EXPENSES, AND BRIEF IN SUPPORT

TO THE HONORABLE KEITH P. ELLISON, UNITED STATES DISTRICT COURT:

         Steven A. Harr (“Receiver”), the Receiver appointed by the Court in these proceedings,

files his Unopposed Eleventh Interim Application to Allow and Pay: (1) Receiver's Fees and

Expenses, (2) Attorney's Fees and Expenses, and (3) Other Professional Fees and Expenses

and Brief in Support for same states as follows:

                                                  I.
                                             BACKGROUND

         1.      On August 1, 2011, the United States Securities and Exchange Commission

("SEC") filed its Complaint and requested the appointment of a Receiver. On that same date,

the Court appointed Steven A. Harr to serve as Receiver and he has functioned in that capacity

since.

         2.      Mr. Harr is an attorney with the law firm of Munsch Hardt Kopf & Harr, P.C.


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("MHKH").      The Order permitted Mr. Harr to retain members of his firm and any other

professionals considered to be reasonable and necessary by the Receiver to fulfill his

obligations to the Court. As part of his duties, the Receiver employed the accounting firm of

BDO USA, LLP f/k/a UHY Advisors FLVS, Inc. (“BDO”) to assist the Receiver with a variety of

services.    These services include the financial investigation of the Receivership entities,

operation of the Receivership assets and accounting for the Receivership estate.

        3.       This application seeks the Court's approval of the fees and expenses incurred by

the Receiver and MHKH for the period of February 1, 2015 – August 15, 2015 and BDO for the

period of January 16, 2015 – August 15, 2015. This application is being filed to comply with the

policies governing receivers as established by the Securities and Exchange Commission.

Although early applications were filed approximately every 90 days, this application covers

seven months due to the reduced amount of time, effort and fees in this matter and to conserve

estate resources.

                                    II.
         SUMMARY OF WORK OF THE RECEIVER AND PROFESSIONALS TO DATE

        4.       A Preliminary Report (Dkt. 25) was filed by the Receiver on September 27, 2011.

Shortly thereafter, a Second Interim Report (Dkt. 35) was filed on November 3, 2011. A Third

Interim Report (Dkt. 47) was filed by the Receiver on February 7, 2012. A Fourth Interim Report

(Dkt.72) was filed on May 21, 2012. A Fifth Interim Report (Dkt. 99) was filed September 10,

2012. A Sixth Interim Report (Dkt. 111) was filed on December 12, 2012. A Seventh Interim

Report (Dkt. 135) was filed April 16, 2013. An Eight Interim Report (Dkt # 155) was filed

September 17, 2013. The Ninth Interim Report (Dkt# 185) was filed on February 19, 2014.

The Tenth Interim Report (Dkt#203) was filed on February 3, 2015.                 These reports more fully

describe the work and accomplishments of the Receiver to date.




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        5.       The financial results of the work of the Receiver for the period ending July 31,

2015, are shown in a form, known as a "SFAR", which is required by the Securities and

Exchange Commission and is attached herein as Exhibit "A." The SFAR shows Cash and Cash

Equivalents of $292,434, Investments of $1,700,000 and Other Assets or Uncleared Funds of

$321,667.

        6.       The work of the Receiver and his counsel during this period has been to continue

to put in motion the actions necessary to address the remaining set of assets and liabilities and

the state and federal taxes posed by this situation.                During the period covered by this

application, the Receiver has incurred fees and expenses with respect to his activities as

Receiver and with respect to MHKH as follows:

            PERIOD                      HOURS             FEES            EXPENSES            TOTALS
    02/01/2015 – 02/15/2015                26.80         $8,751.10           $960.05           $9,711.15
    02/16/2015 – 03/15/2015                36.50        $12,233.80           $602.47          $12,836.27
    03/16/2015 – 04/15/2015                67.30        $22,163.90           $716.66          $22,880.56
    04/16/2015 – 05/15/2015                35.40        $11,420.60           $282.51          $11,703.11
    05/16/2015 – 06/15/2015                26.50         $8,172.65           $428.21           $8,600.86
    06/16/2015 – 07/15/2015                46.50        $13,480.50           $281.48          $13,761.98
    07/16/2015 – 08/15/2015                51.90        $14,015.50         $1,144.81          $15,160.31

             TOTALS                         290.90      $90,238.05           $4,416.19        $94,654.24

        7.       Exhibit "B," which is attached and incorporated herein by reference, conveys the

following information for the time period of February 1, 2015 through August 15, 2015:

                 a. The number of hours worked by each attorney and staff member on a
                    particular day;

                 b. The work performed by each attorney and staff member;

                 c. The rates for each person rendering service in this matter (all of which
                    represent at least a 10% discount from the firm's standard rates), and the
                    involvement of the Receiver and MHKH attorneys and staff in this case during
                    the six months covered by this application during which a total of more than
                    290 hours of attorney, staff and Receiver time has been expended. For this
                    period, the Receiver's fees average a blended rate of approximately $310.20
                    an hour.

      8.    In addition to the work of the Receiver and his counsel, the Receiver has
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principally employed BDO, successor to UHY, as accountants to serve the Receivership. Their

work can generally be described as:

                 ▪       Analysis of the need for and the substantial time and effort to prepare a
                         wide range of tax returns for the receivership entities;

                 ▪       Negotiation and elimination of all late penalties and interests otherwise
                         charged to the estate’s entities to date for not filing tax returns;

                 ▪       Serving as the Receiver’s controller;

                 ▪       Assisting the Receiver with claims against net winners; and

                 ▪       Preparing interim reports of operations and asset recoveries and reports
                         for the Receiver.

    The fees and expenses incurred during the Period with respect to BDO are as follows:

                     PERIOD                HOURS         FEES     EXPENSES             TOTALS
             01/16/2015 – 02/15/2015       280.50      $48,332.50   $51.24            $48,383.74
             02/16/2015 – 03/15/2015        72.75      $13,898.00     $0.00           $13,898.00
             03/16/2015 – 04/15/2015        66.90      $12,548.75     $0.00           $12,548.75
             04/16/2015 – 05/15/2015        65.45      $11,586.50     $0.00           $11,586.50
             05/16/2015 – 06/15/2015        32.50       $7,138.25     $0.00            $7,138.25
             06/16/2015 – 07/15/2015        19.50       $4,787.50     $0.00            $4,787.50
             07/16/2015 – 08/31/2015        17.65       $6,741.00  $392.18             $7,133.18

                     TOTALS                555.25 $105,032.50            $443.42 $105,475.92

        9.       Exhibit "C," which is attached and incorporated herein by reference for all

purposes, conveys the following information for the time period of January 16, 2015 through

August 15, 2015:

                 a. The number of hours worked by each BDO accountant and staff member on
                    a particular day;

                 b. The work performed by each accountant and staff member;

                 c. The rates for each person rendering service in this matter, and involvement of
                    BDO and staff in this case during the four month period covered by this
                    application during which a total of more than 555 hours of BDO and staff time
                    have been expended. BDO has provided services to the Receivership at a
                    blended rate of approximately $189.16 an hour.



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                                                III.
                                          JOHNSON FACTORS

        10.      In support of this request for allowance of compensation and reimbursement of

expenses, the Receiver and MHKH respectfully direct this Court's attention to those factors

generally considered by Courts in awarding compensation to professionals for services

performed in connection with the administration of a receivership estate. As stated by the Sixth

Circuit Court of Appeals in Reed v. Rhodes, 179 F.3rd 453, 471 (6th Cir. 1999), "The primary

concern in an attorney's fee case is that the fee awarded be reasonable." See Blum v. Stenson,

465 U.S. 886, 893 (1984). A reasonable fee is "one that is adequate to attract competent

counsel…" Id. (internal citation omitted). Under the twelve factor test enunciated by the Fifth

Circuit in Johnson v. Georgia Hwy. Express, Inc., 488 F.2d 714, 717 (5th Cir. 1974), and

adopted by the Supreme Court in Hensley v. Eckerhart, 461 U.S. 424, 432 (1983), a court must

first determine the loadstar amount by multiplying the reasonable number of hours billed by a

reasonable billing rate. Johnson, 488 F.2d at 717. That amount can then be adjusted by the

"Johnson Factors".       Those factors as applied to the services rendered in this case by the

Receiver, MHKH and BDO are addressed below:

              a. The time and labor required. The Receiver, MHKH and BDO respectfully refer

the Court's attention to their itemized billings which detail the involvement of the Receiver,

MHKH attorneys and the accountants in this case during the seven month period covered by

this application during which a total of more than 290 hours of attorney, staff and Receiver time

have been expended and more than 555 hours of accountant and accounting staff time have

been expended. A substantial amount of the accounting time has been devoted to the process

of preparing tax returns and negotiating with the IRS with regard to penalties and interest

charged as a result of the late filing of the returns.




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            b. The novelty and difficulty of the questions. Many of the tasks involve factual and

legal questions which are of substantial complexity. The issues associated with the real estate,

tax returns, possible fraudulent transfers and the great concern of the investors for their

potential losses posed many novel and difficult operating issues as well as legal and factual

questions. These issues have been constantly developing. The Receiver and MHKH have had

to become knowledgeable and keep current of daily ongoing events. These issues required

regular attention, but the work has slowed significantly in light of the substantial liquidation of the

estate assets.

            c. The requisite skill to perform the service. The Receiver believes that the services

performed in this case have required individuals possessing considerable experience in

business    transactions,     investment     fraud,    insurance,    workouts,     litigation,   tax,   equity

receiverships, real estate, lending and negotiations.            The Receiver, MHKH and BDO have

considerable experience in these areas.

            d. The preclusion of other employment due to the acceptance of the case. The

Receiver, MHKH and BDO have not declined any representation solely because of their

services as Receiver, counsel or accountant for the Receiver.

            e. The customary fee.           The average hourly rates sought herein are at least

commensurate with the rates charged by other practitioners of similar experience levels in the

Southern District of Texas. In the case of the Receiver and his counsel, the rates below are

their average standard hourly rates discounted by at least ten percent (10%). During the time

period covered by this application, the following lawyers at MHKH have performed legal

services on behalf of the Receiver with respect to these proceedings.




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                 NAME                  RATE                      LICENSE & PRACTICE
                                                     Licensed in Texas in 1980 and admitted to
           Steven A. Harr          $441.00 per
                                                     practice law before all state and federal
             (Receiver)               hour
                                                     courts in the State of Texas.
                                                     Licensed in Texas in 2011 and admitted to
           Sameer Karim            $300.00 per
                                                     practice law before all state courts in the
          (general issues)            hour
                                                     State of Texas.
                                                     Licensed in Texas in 2013 and admitted to
        Christopher Jordan         $225.00 per
                                                     practice law before all state and federal
        (real estate issues)          hour
                                                     courts in the State of Texas.
                                                     Licensed in Texas in 1993 and admitted to
         Christopher Speer         $414.00 per
                                                     practice before all state courts in the State
          (general issues)            hour
                                                     of Texas.
                                                     Licensed in Texas in 1987 and admitted to
            Robert Kibby           $432.00 per
                                                     practice before all state courts in the State
          (general issues)            hour
                                                     of Texas.

        Additionally, the following paralegals and timekeepers assisted the Receiver:

              NAME                    RATE                      SCOPE OF INVOLVEMENT
        Mary Jo Martin                                Rendered valuable service in connection
     (paralegal handling                              with the communications with investors and
      the majority of the      $200.00 per hour       responding to investor contact and
      investor questions                              maintenance of information posted on the
        and concerns)                                 Receiver's website.
         Meg Wingert                                  Handled corporate issues.
                               $234.00 per hour
          (paralegal)
        Lindsay McNeil                                Handled general issues.
                               $148.50 per hour
           (law clerk)

            f.   Whether the fee is fixed or contingent. The Receiver, MHKH and BDO's fees are

fixed insofar as monies exist by way of Receivership assets from which to pay such fees.

Payment of such fees, however, is subject to Court approval.

            g. Time limitations imposed by the Client or other circumstances.                      The time

requirements of the Receiver during the period covered by this application have been declining

with an occasional uptick in activity to close certain matters.              The Receiver and his staff

continue to address the issues associated with the assets, taxes, strategic analysis and

negotiation to sell or obtain payoffs on the various notes and investments held by Select Asset

Fund I and Select Asset Prime Index Fund, responding to investors, addressing new issues


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presented and their effect on the investors, monitoring and updating the Receiver's website, and

attending to voicemail communications, investor responses and reporting information as

necessary to the Court.        The time investment of the estate’s accountants has significantly

increased due to the large number of state and federal tax returns that have been filed during

the period in question. All tax return related work is now completed but has given rise to the

assessment of penalties and interest by the IRS for the late filing of the returns. BDO has been

successful to date in negotiating with the IRS to reverse all assessments of penalties and

interest, saving the estate in excess of $100,000.

            h. The amount involved and the results obtained. During the period covered by this

application, the Receiver and his lawyers and paralegals have handled the following matters:

                    1.   Continued to review as needed the legal documents, including documents

maintained by the Defendants and obtained from investors or third-parties, regarding the assets

of the Receivership;

                    2.   Negotiate for and collect on the new SMIG loan made in 2014 in

association with the sale of a Receivership asset;

                    3.   Negotiate and extend the time for payment on the Gassaway settlement

in light of delays in the process of selling the property used to pay the estate;

                    4.   Sold the New Ulm vacant lot property;

                    5.   Invested substantial time and effort on a wide range of tax returns

required by law, attention to the penalties and interest charged by the IRS and produced

documents to the IRS;

                    6.   Seek permission of the Court and work with the claims team to issue a

second interim distribution to the investors.




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                      7.     Maintain an information website for all interested investors, creditors and

others to provide for on-going communications, updated pleadings filed in the proceeding, and

an email address for questions and inquiries;

                      8.     The Receiver has renewed the Certificates of Deposits holding the larger

sums of the receivership corpus, all deposited in the CDARS program;

                      9.     Responded to and assisted with numerous and constant questions from

investors on claims issues;

                      10. Attended to the many questions and issues related to the financial

investigation of the entities;

                      11. Filed suit against three net winners, settled with two and began active

litigation with the third.

                 i.          The experience, reputation and ability of the attorneys. MHKH is a broad-

based commercial firm with vast experience in the handling of matters generally related to civil

trial law, dispute resolution, bankruptcy, corporate, real estate and general workout matters.

The practice of the attorneys specifically in this case regularly includes the representation of

investors and other persons involved in business transactions in which investors or other parties

are victims or aggrieved in some fashion. The Receiver and other attorneys at MHKH have also

served as Receiver and counsel in other large SEC Receiverships involving investor fraud on a

worldwide basis.           The reputation of the Receiver and MHKH attorneys is recognized and

respected in their community in Texas.

                 j.          The undesirability of the case.       The service as Receiver and the

representation of the Receiver incident to this case has not been undesirable.

                 k.          The nature and length of the professional relationship with the client.

MHKH did not represent the Receiver in these proceedings prior to being retained in these

proceedings.
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                l.       Award in similar cases. MHKH believes that the fees requested in this

case are less than or equal to those which have been awarded in similar cases in this district.

                                                 IV.
                                          SEC CERTIFICATION

        11.     I have read the Application and to the best of my knowledge, information and

belief formed after reasonable inquiry, the Application and all fees and expenses therein are

true and accurate and comply with the Billing Instructions (with any exceptions specifically noted

in the Certification and described in the Application); all fees contained in the Application are

based on the rates listed in the Applicant’s fee schedule attached hereto and such fees are

reasonable, necessary and commensurate with the skill and experience required for the activity

performed; the Application has not included in the amount for which reimbursement is sought

the amortization of the cost of any investment, equipment, or capital outlay (except to the extent

that any such amortization is included within the permitted allowable amounts set forth herein

for photocopies and facsimile transmission); and, in seeking reimbursement for a service which

the Applicant justifiably purchased or contracted for from a third party (such as copying,

imagining, bulk mail, messenger service, overnight courier, computerized research, or title and

lien searches), the Applicant requests reimbursement only for the amount billed to the Applicant

by the third-party vendor and paid by the Applicant to such vendor.                   If such services are

performed by the receiver, the receiver will certify that it is not making a profit on such

reimbursable service.

        12.     Pursuant to Local Rule CV-7, the Receiver advises the Court that the Plaintiff

Securities and Exchange Commission has no objection to the relief requested in this Motion.

                                                  V.
                                              CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, the Receiver requests that this Court

approve all of the fees and expenses as set forth herein and for such other and further relief,
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general and special, at law or in equity, to which the Receiver, MHKH and BDO may show

themselves justly entitled.




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        DATED: August 26, 2015                    Respectfully submitted,


                                                  MUNSCH HARDT KOPF & HARR, P.C.


                                                  /s/ Steven A. Harr                                   x
                                                  Steven A. Harr
                                                  SDTX Bar No. 09035600
                                                  MUNSCH HARDT KOPF & HARR, P.C.
                                                  700 Milam, Suite 2700
                                                  Houston, Texas 77002
                                                  (713) 222-1470(telephone)
                                                  (713) 222-5850 (telecopy)
                                                  E-Mail: sharr@munsch.com

                                                  THE RECEIVER


                                          CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically with the Clerk via the
CM/ECF system. Notice of this filing will be sent to all parties by operation of the Court’s
electronic filing system.

        Houston, Texas, this 26th day of August, 2015.


                                                           By:   /s/ Steven A. Harr _______________
                                                              Steven A. Harr




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